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                                                         Exhibit A to the Complaint
Location: Philadelphia, PA                                                                         IP Address: 72.86.204.218
Total Works Infringed: 29                                                                          ISP: Verizon Internet Services
 Work      Hashes                                                                UTC        Site          Published      Registered   Registration
 1         Info Hash:                                                            02-17-     Vixen         05-04-2017     06-16-2017   PA0002069283
           3190852740A8422FB1010622B45A545B2EA2459F                              2022
           File Hash:                                                            05:26:00
           92F7CA45AE3B8A43E5A7626B015182EB395475BA13ACFB309BD336FF4EE90EAE
 2         Info Hash:                                                            02-10-     Blacked       12-01-2018     01-22-2019   PA0002149844
           5C41147F4C253F602DE8A0B9E24AC739139DE7E1                              2022
           File Hash:                                                            07:29:08
           44ACA84AD127766A3FD50784B34027DAEB742B7A1DA164A179D74B274BB261DA
 3         Info Hash:                                                            02-10-     Blacked       12-18-2017     01-23-2018   PA0002101753
           0C3FC2C395D484CDE33DEBE68F11C01E6CB01333                              2022       Raw
           File Hash:                                                            07:23:16
           F79A2B17FCC0105C4155D1B138EF10D3F9F12C20E705D25ED304BCD9619863BF
 4         Info Hash:                                                            01-22-     Blacked       12-28-2018     02-02-2019   PA0002155006
           43AA8E29D248BD63C9EE0A8EAF9D8B4ADA089C22                              2022       Raw
           File Hash:                                                            22:51:21
           BD80016D810934FE45C73A18EE8284002922350182625803152229295D61AA50
 5         Info Hash:                                                            01-22-     Blacked       06-26-2018     08-07-2018   PA0002131867
           07CAE96A19F099040064ED36BAD1EA65E7072BAE                              2022       Raw
           File Hash:                                                            21:18:19
           1D73C79064A24DA121394C88C901500BA928C1EFA1C766E5601F39DA91CA2980
 6         Info Hash:                                                            01-22-     Tushy         07-10-2017     08-18-2017   PA0002077678
           B271511687890F0A57EE68486AFE3F2D827638A1                              2022
           File Hash:                                                            20:25:48
           13E20DBDB72C6C25E0A12376FDA2D4CC1E26AFA4DBEB2486C0D92B77F88EDFED
 7         Info Hash:                                                            01-18-     Blacked       04-05-2017     06-05-2017   PA0002052859
           9E7AC67ED84D7D04BF3CC582B9C85202AE696326                              2022
           File Hash:                                                            19:47:52
           F2A48655FBEF5FF6669D03A8713DF2668EB11CC499D2C41070BF7E2378288216
 8         Info Hash:                                                            12-17-     Vixen         05-19-2019     06-13-2019   PA0002180953
           E6BC7441F981014A9DF6B4FF5523E3B990790C58                              2021
           File Hash:                                                            15:45:55
           E3E0C35F00BD744B61F1A7DC4DE3617E2A76E53CC6CC37B603A5A0FE504816A9
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         11-24-     Blacked   11-22-2021   12-09-2021   PA0002325831
       EB2FA6D8D0F409495CFD399CD2DF142F55EB24D4                           2021       Raw
       File Hash:                                                         15:14:19
       F6094559C3FA16B75D2E4A8D84124BBF01D59B4C80814C7507E0657BFDFD7D35
10     Info Hash:                                                         11-23-     Blacked   11-21-2020   11-30-2020   PA0002266354
       8245C5788FC65E9D62956E93E248CD39C1D9C4BB                           2021
       File Hash:                                                         03:08:34
       975E94CE108E87746A1BCDB1B386358D187DFD235A37B2073EEEB230677272F8
11     Info Hash:                                                         10-31-     Blacked   02-13-2020   03-18-2020   PA0002241447
       51185C8E96E19B9F1E7F47647B98DF3434B759E7                           2021       Raw
       File Hash:                                                         21:26:09
       6B098BF2E80EEDDB400147CC15800C70F6D28144076E1A4FA10FB91BEB977CCE
12     Info Hash:                                                         10-31-     Blacked   11-06-2018   11-25-2018   PA0002136603
       56502222833E23C38737D072A74A9DACD85BFCC5                           2021
       File Hash:                                                         21:15:57
       B51C603827041F6D18B85B6C307B539F0249752714E06C7B678DA88026766C1B
13     Info Hash:                                                         10-21-     Blacked   12-19-2020   01-05-2021   PA0002269959
       72CF32D82CDC03B4A628E99BA4E2B0327193029A                           2021
       File Hash:                                                         20:32:34
       3E733D8E3B150936DFE95A933E771E80401250372AB7D813147805E218331583
14     Info Hash:                                                         10-21-     Blacked   08-03-2019   09-10-2019   PA0002199412
       9690CAE86C60C0ACECC13DBF81AA979AD30AC3C1                           2021
       File Hash:                                                         20:31:20
       3863C52BE8D450415A7ADEC65F3966BE1FE3C08D05E6A9A72AED1C3A55D20620
15     Info Hash:                                                         10-10-     Blacked   02-06-2018   02-20-2018   PA0002104186
       D06FB7FF3800D0F03A1A06ADABCD9AB5774A5262                           2021       Raw
       File Hash:                                                         16:51:04
       816F6331FFC91DA37B95BE773CAB84DC8FE97F744E1701AA9E5CBDA184600F56
16     Info Hash:                                                         10-10-     Blacked   03-21-2018   04-12-2018   PA0002091520
       F32AE88DF4B6CD0EC85CE927346EB3CC02758CA3                           2021
       File Hash:                                                         16:44:33
       9B1689176C1D52841E588A81B74CE350323F5ADADE276B3577AA74185F1EAAD0
17     Info Hash:                                                         10-10-     Blacked   09-27-2018   11-01-2018   PA0002143428
       20861D1CFB76E8A75CBAD1AD1B9D1BD9B2BDF151                           2021
       File Hash:                                                         16:35:02
       676290861BE41F9B9E155BE4CD5FA5F962A2EC3A25716EEF37B233070A387197
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         09-20-     Blacked   04-18-2020   05-19-2020   PA0002241472
       1EB9F1FD518011DA81313D9C95C13D2DAF986DEA                           2021
       File Hash:                                                         01:18:10
       BE0714950BAE66935380D8A295E3561971B9A96907AC462560C210D5E728F711
19     Info Hash:                                                         09-20-     Blacked   05-09-2020   06-08-2020   PA0002243649
       24A64BE5C3820F898A670007F7B072A805BD9DDF                           2021
       File Hash:                                                         01:17:56
       2660E35C524E89782B4DF17995C883976A29E7EA796614E16437CBF8AEFB02B0
20     Info Hash:                                                         09-19-     Blacked   09-13-2021   11-11-2021   PA0002321292
       44510C39CBDE623DB076713726B8EE66A5153FA8                           2021       Raw
       File Hash:                                                         22:00:46
       86FF2D94459908CB93FD1A67A831204DD7F2EDB3EDBEB5538D485E3FD012349E
21     Info Hash:                                                         09-19-     Blacked   01-16-2021   02-09-2021   PA0002276150
       A5FC96E88D78817E097A7638BFF4C79028FA6961                           2021
       File Hash:                                                         21:54:18
       55201047A6F1DBCFB62B55B037645B94BB99CB98355AB7757178E4CB9279F561
22     Info Hash:                                                         09-19-     Tushy     11-15-2020   12-09-2020   PA0002274948
       AFBEEF344772C20D59F868E17C18AC3E2751823D                           2021
       File Hash:                                                         21:52:20
       F9BD11BCF4D478356E2069BCC1D22CBB67F06715B13884E97C16A232D216EF90
23     Info Hash:                                                         08-15-     Blacked   04-17-2021   06-09-2021   PA0002295585
       4E35065C343ED31FD637684CCB8A570D1B6682E5                           2021
       File Hash:                                                         17:03:42
       21A3E8DEE623B88013E78B019C5BB8E6C6360358E68081C875D652020AD5FD46
24     Info Hash:                                                         07-09-     Blacked   01-02-2018   01-26-2018   PA0002101761
       D50B75F3FBF36DC58F3A4FEAFB4B826C7EA6DC84                           2021       Raw
       File Hash:                                                         05:11:56
       83650E0ECF2794807EDFC822E9573C5DE5FC44C1DBF249D17CF44A53281BBB52
25     Info Hash:                                                         07-09-     Blacked   11-21-2017   01-04-2018   PA0002069353
       41B0235D1BFC0821806275E650E024915820E402                           2021
       File Hash:                                                         05:07:32
       405ABE5CB469E85B27758E34167AD75D028FDE4C6178E200CD77F5345D2B3856
26     Info Hash:                                                         12-07-     Tushy     11-29-2020   01-04-2021   PA0002277033
       B325B7E8107FC52C71CCBA7A995E4E75AED840B1                           2020
       File Hash:                                                         23:25:50
       00C5EB6E231D7C6BAC34B9BF59414E24089B2DDAE038D1EB410827A14D8A5084
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         11-19-     Blacked   11-14-2020   11-30-2020   PA0002266362
       ABC0C195E2BBF84F587F37AF7EB8F746860EE8AB                           2020
       File Hash:                                                         19:53:34
       D9789C10F5472D6DB4B2A8D9F8CD8E0A7C7087FA1FF2A83B2F39ADC6D3A0B691
28     Info Hash:                                                         11-02-     Blacked   10-31-2020   11-24-2020   PA0002265967
       F02038ED79DADCF1634BEFA492E284250F51B663                           2020
       File Hash:                                                         09:04:25
       B235D62382C31D4D7381203DDF90467BFFB5FC1B05C7A43D4F2F01AA32FA95D1
29     Info Hash:                                                         09-01-     Blacked   06-24-2018   07-26-2018   PA0002112154
       411399E12D72B77BF41A222B127412F63BE35AB8                           2020
       File Hash:                                                         13:58:14
       6042D19A5936454A0F3A4D2CF76D1AC4F59194B203647A31340E72F86680089B
